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6
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7    COUNTY OF FRESNO
8
                                  UNITED STATES DISTRICT COURT
9
                    EASTERN DISTRICT OF CALIFORNIA – FRESNO DIVISION
10
11   GENERAL SECURITY SERVICES                          Case No. 1:11-cv-00724 MJS
12   CORPORATION,

13                                   Plaintiff,         STIPULATION TO MODIFY
                                                        SCHEDULING ORDER; ORDER
14                          v.                          THEREON.
15
     COUNTY OF FRESNO,
16
17                                  Defendant.

18
             Plaintiff   GENERAL        SECURITY        SERVICES    CORPORATION         (hereinafter
19
     “Plaintiff”) and defendant COUNTY OF FRESNO (hereinafter “Defendant”) hereby
20
     present the following Stipulation to Modify the current Scheduling Order in the above-
21
     captioned action to continue the existing trial date.
22
                                                  RECITALS
23
             WHEREAS, on September 29, 2011, the Court issued its initial Scheduling
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     Order. In said order, the trial was set for January 29, 2013.
25
             WHEREAS, on October 14, 2011, the parties consented to have Magistrate
26
     Judge Michael J. Seng be the judge for all purposes in this case.
27
             WHEREAS, on June 14, 2012, the Court issued an order, pursuant to the parties’
28
     stipulation, to continue the existing trial date to April 1, 2013.
     Stipulation to Modify Scheduling Order         1               Case No. 1:11-cv-00724 MJS
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1              WHEREAS, on February 19, 2013, counsel for parties tentatively agreed on

2    behalf of their clients to engage in a settlement process. Under this process, the parties

3    will first meet and confer to determine the extent of the existing controversy. Once this

4    determination is made, it is the intention of the parties to engage in private mediation.

5    Due to the large number of pieces of electronic monitoring equipment subject to

6    Plaintiff’s overall claim, the factual inquiry needed for the settlement process will be

7    extensive.     As such, the parties concluded that the trial date of April 1, 2013 left

8    insufficient time for this process.

9              WHEREAS, on February 20, 2013, the Court issued an order, pursuant to the

10   parties’ stipulation, continuing the trial date to August 6, 2013.

11             WHEREAS, on May 7, 2013, counsel for the parties agreed that due to the large

12   number of pieces of electronic monitoring equipment subject to Plaintiff’s overall claim,

13   the factual inquiry between the parties has taken longer than anticipated. As such, the

14   parties still desiring to conduct a meaningful settlement process and mediation believe

15   that the current trial date of August 6, 2013 will leave insufficient time for the settlement

16   process.

17             WHEREAS, on May 7, 2013, counsel for the parties conferred regarding a new

18   trial date. Based on the time needed for the above-described settlement process to

19   continue, and the existing schedules for counsel, it was agreed that a trial date in

20   October or November 2013 would be proposed.

21             WHEREAS, on May 7, 2013, counsel for Plaintiff contacted Laurie Yu, the

22   Courtroom Deputy for Judge Seng, concerning the parties’ proposed stipulation and

23   order. Ms. Yu represented that the parties could propose November 19, 2013, as the

24   new trial date.

25   ///

26   ///

27   ///

28   ///

     Stipulation to Modify Scheduling Order      2               Case No. 1:11-cv-00724 MJS
       Case 1:11-cv-00724-MJS Document 55 Filed 05/09/13 Page 3 of 4


1                                             STIPULATION

2            Now, therefore, IT IS HEREBY STIPULATED AND AGREED, by and between

3    the parties, through their respective attorneys of record that:

4            1.      The existing trial date of August 6, 2013 will be vacated, and the case will

5    be set for trial on on October 18, 2013 at 9:30 a.m., in Courtroom 6 of the United States

6    District Court in Fresno, California.

7            2.      The Court will set a pre-trial conference on October 18, 2013 at 9:30 a.m.,

8    in Courtroom 6 of the United States District Court in Fresno, California.

9    IT IS SO STIPULATED.

10   Dated: May 8, 2013
11                                                     KEVIN B. BRIGGS
                                                       County Counsel
12
13
                                                 By:   /s/ Michael Linden
14                                                     Michael R. Linden, Deputy
                                                       Attorneys for Defendant
15
16   Dated: May 8, 2013
17                                                     VAUGHN LEGAL GROUP
18
19
                                                 By:   /s/ Barak Vaughn
20                                                     Barak Vaughn
                                                       Attorney for Plaintiff
21
22
23                                              ORDER
24
           Good cause appearing, the Stipulation of the parties is approved. The pre-trial
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     conference in this case shall convene October 18, 2013 at 9:30 a.m., in Courtroom 6 of
26
27   the United States District Court in Fresno, California. Trial shall commence on

28

     Stipulation to Modify Scheduling Order      3               Case No. 1:11-cv-00724 MJS
                             Case 1:11-cv-00724-MJS Document 55 Filed 05/09/13 Page 4 of 4


1    November 19, 2013 at 9:30 a.m., in Courtroom 6 of the United States District Court in

2    Fresno, California.
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6    IT IS SO ORDERED.

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8
                              Dated:   May 9, 2013                    /s/   Michael J. Seng
     DEAC _Signature- END:
                                                                   UNITED STATES MAGISTRATE JUDGE
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     Stipulation to Modify Scheduling Order                    4             Case No. 1:11-cv-00724 MJS
